  Case: 1:22-cv-00708 Document #: 103 Filed: 10/20/23 Page 1 of 10 PageID #:1570




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 BRANDON SMIETANA and SKYCOIN                        Case No.:      1:22-cv-00708
 GLOBAL FOUNDATION LIMITED, a
 Singapore company, and SYMBOLIC
 ANALYTICS INC. a Delaware Corporation
               Plaintiffs,                           Hon. Sara L. Ellis
        v.
 BRADFORD STEPHENS, AARON
 KUNSTMAN, HARRISON GEVIRTZ, f/k/a
 “HaRRo”, RYAN EAGLE, ANDREW YOUNG,
 FAR AHEAD MARKETING, JOEL WAYNE
 CUTHRIELL f/k/a “JOEL”, MORGAN PECK,
 TRISTAN GREENE, BRYAN CLARK,
 CATHERINE BYERLY, STEVEN LEONARD,
 JOSH OGLE, and UNKNOWN INDIVIDUALS
 AND COMPANIES
               Defendants.

   DEFENDANT RYAN EAGLES’ MOTION TO DISMISS PLAINTIFFS THIRD
AMENDED COMPLAINT UNDER FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
                          and 12(b)(1)

Now Comes defendant RYAN EAGLE, by and through his attorneys Cole Sadkin, LLC and in
support of her MOTION TO DISMISS UNDER FEDERAL RULE OF CIVIL PROCEDURE
12(b)(6), and 12(b)(1) states as follows:

                                           INTRODUCTION

       Plaintiffs filed suit against Ryan Eagle alleging one federal cause of action Count VIII

(Violations of the Defend Trade Secrets Act). In addition, plaintiff alleges state law claims in

Count V (Civil Conspiracy), Count VI (Tortious Interference), Count IX (Unjust enrichment).

Plaintiffs Third Amended Complaint does not include Count XI (Breach of Fiduciary Duty)

against Ryan Eagle. There are changes to Count VIII (Violations of the Defend Trade Secrets

Act), the remaining allegations are substantially similar to the Second Amended Complaint.
  Case: 1:22-cv-00708 Document #: 103 Filed: 10/20/23 Page 2 of 10 PageID #:1571




Should the Court dismiss the federal cause of action, it can and should relinquish supplemental

jurisdiction of the remaining state law claims.

                                           ARGUMENT

       A. Standard for Rule 12(b)(6) Motion

       To avoid dismissal under Rule 12(b)(6) for failure to state a claim, a complaint must

contain a “short and plain statement of the claim showing that the pleader is entitled to relief.”

Fed.

       R. Civ. P. 8(a)(2). A plaintiff’s obligation to provide the grounds of his entitlement to

relief requires more than labels and conclusions, and a “formulaic recitation of the elements of a

cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). “Factual

allegations must be enough to raise a right to relief above the speculative level.” Id. “Threshold

recitals of the elements of the cause of action, supported by mere conclusory statements, do not

suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                                          Federal Claims

                         COUNT VIII DEFEND OF TRADE SECRETS ACT

        Plaintiffs’ Federal cause of action is based upon violations of the Defend Trade Secrets

Act 18 U.S.C. sec. 1836. In order to state a claim, plaintiff must allege a trade secret, which

owner has taken steps to keep confidential, a misappropriation of those trade secrets. Smart

Mortg. Ctrs., Inc. v. Noe, 2022 U.S. Dist. LEXIS 49580, 13. It is not enough to point to broad

areas of technology and assert it is secret. Id. At 17. Furthermore, it is necessary to set forth that

the trade secret was used or disclosed. Molon Motor & Coil Corp. v. Nidec Motor Corp.,2017

U.S. Dist. LEXIS 71700, 12. Finally, something does not qualify as a trade secret if it is
  Case: 1:22-cv-00708 Document #: 103 Filed: 10/20/23 Page 3 of 10 PageID #:1572




generally known in an industry. Sirius Computer Solutions, Inc. v. Sachs, 2021 U.S. Dist. LEXIS

77595, 8.

       Plaintiffs’ prior attempts to set forth a claim under the Defense of Trade Secrets Act were

classic threadbare recitals of the elements of a cause action, supported by mere conclusory

statements, which are insufficient to state a claim. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       Plaintiffs’ Third Amended Complaint still fails to meet the elements required under the

Defense of Trade Secrets Act. As previously noted Plaintiff must set forth facts which support an

actual trade secret, for which steps were taken to maintain confidentiality and a misappropriation

of those trade secrets. Plaintiffs’ Third Amended Complaint fails to meet any of the required

elements.

                                 No Facts Setting Forth a Trade Secret

        Initially, plaintiffs do not set forth sufficient facts regarding any trade secrets. Plaintiffs

“trade secrets” consist of “crypto currency wallets” ( See paragraphs 222-226 of Plaintiffs Third

Party Complaint) and software (see paragraphs 227-229 of Plaintiffs Third Party Complaint).

Plaintiffs facts are mere generic descriptions of widely used technology. Plaintiffs allege that the

hardware wallets, wallet casings, and physical components constitute the alleged trade secret.

(see paragraphs 224 of Plaintiffs Third Party Complaint). Similarly plaintiffs allege that the

software and corresponding source codes allowed them to generate, sell, and distribute their

digital assets to customers. (See paragraphs 231 of Plaintiffs Third Party Complaint) However,

the plaintiff's description of the alleged trade secret is vague and generic. It merely referenced the

technology used in the entire cryptocurrency sector, specifically the "crypto wallet." Plaintiffs

merely alleging the hardware and software designs are “trade secrets” or “propriety”( See

paragraphs 229-230 and 235 of Plaintiffs Third Party Complaint) is not enough. Similarly merely
  Case: 1:22-cv-00708 Document #: 103 Filed: 10/20/23 Page 4 of 10 PageID #:1573




providing descriptions of products, processes and technology that is widely known and available

throughout the industry fails to adequately state a claim. Sirius Computer Solutions, Inc. v.

Sachs, 2021 U.S. Dist. LEXIS 77595, 8.

                 No Steps Taken to Keep Safeguard the Alleged Trade Secret

        In order to have a Trade Secret, there must be steps taken to safeguard the alleged trade

secret. Smart Mortg. Ctrs., Inc. v. Noe, 2022 U.S. Dist. LEXIS 49580, 13. Plaintiffs’ only

allegation that Plaintiffs took any steps to safeguard the alleged trade secrets is that they were

only known to Skycoin Officers. ( See paragraph 231 of Plaintiffs Third Party Complaint). This

sole allegation does not meet the requirement that Plaintiffs took adequate steps to safeguard the

trade secret.

                         No Disclosure or Use of Alleged Trade Secret

        In order to properly plead a violation of the Defense of Trade Secrets Act, there must be a

misappropriation and that the trade secret was used or disclosed. To properly allege

misappropriation, the complaint must specify the improper means employed, such as theft,

bribery, misrepresentation, breach of duty, or espionage through electronic or other means with

particularity. Global Charter Services v. Larocca, No. 22 C 1849, 2023 U.S. Dist. LEXIS 79350.

Additionally, it's crucial to demonstrate that the trade secret was used or disclosed, as outlined in

Molon Motor & Coil Corp. v. Nidec Motor Corp., 2017 U.S. Dist. LEXIS 71700, 12.

        Plaintiffs’ complaint fails to properly meet either prong of this element. Plaintiffs’

allegations regarding improper means to obtain the information consists of mere speculation,

conjecture and conclusion. Plaintiffs allege that “defendants” attempted to obtain the

information. ( See paragraph 234 a-f of Plaintiffs’ Third Party Complaint). Plaintiffs’ allegations

fail to provide sufficient facts regarding any defendants actually obtaining any alleged Trade
  Case: 1:22-cv-00708 Document #: 103 Filed: 10/20/23 Page 5 of 10 PageID #:1574




Secrets. “Factual allegations must be enough to raise a right to relief above the speculative

level.” Id. “Threshold recitals of the elements of the cause of action, supported by mere

conclusory statements, do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                             No Use or Disclosure of Trade Secrets

       Finally, Plaintiffs must properly allege use or disclosure of any alleged Trade Secret.

There are no factual allegations of any disclosure or use of the alleged Trade Secrets. Plaintiffs

merely assert that defendants “used”, “misappropriated” and “divulged” the alleged Trade Secret

for “personal gain”. These self serving conclusory allegations are bereft of any actual details or

facts with regard to the use or disclosure of the alleged Trade Secrets. There is no identification

as any individual defendant using or disclosing the information. Plaintiffs merely use the words

required for the cause of action without any actual facts regarding the use or disclosure of the

trade secrets. A plaintiff’s obligation to provide the grounds of his entitlement to relief requires

more than labels and conclusions, and a “formulaic recitation of the elements of a cause of action

will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). “Factual allegations must be

enough to raise a right to relief above the speculative level.” Id. There are not sufficient

allegations that any trade secrets were disclosed or used. Plaintiffs’ complaint merely makes

general, vague statements about defendants (without specifying which of the defendants

performed any activity) used the trade secrets. Merely using the word “misappropriate” does not

rise to the level of stating a claim. Plaintiff similarly asserts that Defendants were fully aware

that the products were trade secrets were secret and confidential.

       Finally, the assertion and assumption that an off the shelf, open source product is a trade

secret, is erroneous and defeats this claim.

                                               State Court Claims
  Case: 1:22-cv-00708 Document #: 103 Filed: 10/20/23 Page 6 of 10 PageID #:1575




       In the event this Court dismisses Plaintiffs’ Defense of Trade Secret Act Claims this

Court should also relinquish supplemental jurisdiction over the state law claim. A district court

may exercise supplemental jurisdiction over state law claims “that are so related to claims in the

action within such original jurisdiction that they form part of the same case or controversy under

Article III of the United States Constitution.” 28 U.S.C. § 1367(a). However, “district courts may

decline to exercise supplemental jurisdiction over a claim under subsection (a) if the district

court has dismissed all claims over which it has original jurisdiction.” “When all federal claims

in a suit in federal court are dismissed before trial, the presumption is that the court will

relinquish federal jurisdiction over any supplemental state-law claims.” That presumption

“should not be lightly abandoned, as it is based on a legitimate and substantial concern with

minimizing federal intrusion in areas of purely state law.” Energy Labs, Inc. v. Edwards

Engineering, Inc., No. 14 C 7444, 2017 U.S. Dist. LEXIS 29818, at *5-6 (N.D. Ill. Mar. 2, 2017)

(internal citations omitted). “[I]t is the well-established law of this circuit that the usual practice

is to dismiss without prejudice state supplemental claims whenever all federal claims have been

dismissed prior to trial.” Groce v. Eli Lilly & Co., 193 F.3d 496, 501 (7th Cir. 1999). In this case,

in the event this Court dismisses the federal claims, there is no compelling reason for this court

to depart from the usual practice of also dismissing the supplemental state law claim.

In the event this Court entertains the remaining State court claims, they should also be dismissed

as well.

                                    COUNT V CIVIL CONSPIRACY

       Plaintiffs’ essentially state, with no particularity or support, that all the defendants met to

commit wire fraud, computer fraud in general. (See complaint para 191). That is literally the

allegation, there are no elements or additional facts to support these claims. Plaintiff also asserts
  Case: 1:22-cv-00708 Document #: 103 Filed: 10/20/23 Page 7 of 10 PageID #:1576




that defendants worked “in concert” based upon their acts and various communications. (See

complaint para 192). There are no facts to support these allegations.

       To state a claim for civil conspiracy, a plaintiff must allege an agreement to accomplish

an unlawful purpose or a lawful purpose by unlawful means, a tortious act committed in

furtherance of that agreement and an injury caused by defendant. Merrilees v. Merrilees, 2013

IL App (1st) 121897, at 49. An agreement is an essential element. Id. at 50. The complaint must

do more than characterize a series of acts as a conspiracy. Id. Civil conspiracy is not an

independent tort, plaintiff must state an independent cause of action underlying the conspiracy.

Id. at 49. Finally, as plaintiff alleges fraud, there is the heightened pleading requirement pursuant

to Fed.R.Civ. 9(b). Allegations of fraud are subject to the heightened pleading standard of

Fed.R.Civ 9(b) which requires the plaintiff to plead fraud with particularity. Slaney v. The Intl.

Amateur Athletic Federation, 244 F.3d 580, 597 (7th Cir. 2001). Plaintiff fails to set forth facts to

state a claim for civil conspiracy, specifically an agreement, specific acts as well as the elements

for the underlying causes of action, which are merely stated by name with nothing further.

                              COUNT VI TORTIOUS INTERFERENCE

       Plaintiffs allege that they do business with various exchanges and that the defendants

interfered with their ability to conduct business on those exchanges. Under Illinois law, to state a

claim for tortious interference a plaintiff must plead facts to plausibly set forth a reasonable

expectation of a business relationship, defendants’ knowledge of the relationship/expectancy, an

intentional and unjustified interference by defendants that caused a termination of that

relationship resulting in damages to plaintiff. TCC Historic Tax Credit Fund VII, L.P. v.

Levenfeld Pearlstein, LLC, 2012 U.S. Dist.1677991, at 16, 17.
  Case: 1:22-cv-00708 Document #: 103 Filed: 10/20/23 Page 8 of 10 PageID #:1577




       The allegations against the defendants collectively are that “they orchestrated various

schemes to undermine the reputation of Plaintiffs and cause these internet exchange markets… to

remove Plaintiffs’ products from their exchanges, (See Complaint para 201) and that the

Defendants acted in concert to cause these internet exchange markets to remove Plaintiffs’

Skycoin products from those markets (See Complaint para. 206). Yet again, these allegations do

not rise to the level of stating a claim. A plaintiff’s obligation to provide the grounds of his

entitlement to relief requires more than labels and conclusions, and a “formulaic recitation of the

elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

“Factual allegations must be enough to raise a right to relief above the speculative level.” Id.

“Threshold recitals of the elements of the cause of action, supported by mere conclusory

statements, do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                                 COUNT IX UNJUST ENRICHMENT

       To state a claim for unjust enrichment, "a plaintiff must allege that the defendant has

unjustly retained a benefit to the plaintiff's detriment, and that defendant's retention of the benefit

violates the fundamental principles of justice, equity, and good conscience." HPI Health Care

Services, Inc. v. Mt. Vernon Hosp., Inc., 131 Ill. 2d 145, 160, 545 N.E.2d 672 (1989). Unjust

enrichment is not an independent cause of action. Martis v. Grinnell Mut. Reinsurance Co., 388

Ill. App.3d 1017, 1024, 905 N.E.2d 920 (3rd Dist. 2009). Rather, it is a condition that may be

brought about by unlawful or improper conduct as defined by law, such as fraud, duress, or

undue influence. Alliance Acceptance Co. v. Yale Insurance Agency, 271 Ill.App. 3d 483, 492,

648 N.E.2d 971 (1st Dist. 1995), or, alternatively, it may be based on contracts which are implied

in law Perez v. Citicorp Mortgage, Inc., 301 Ill. App. 3d 413, 425, 703 N.E.2d 518, 234 Ill. Dec.

657 (1st Dist. 1998).
  Case: 1:22-cv-00708 Document #: 103 Filed: 10/20/23 Page 9 of 10 PageID #:1578




          This theory is inapplicable where an express contract, oral or written, governs the parties'

relationship. Id. In the present case Plaintiffs have alleged an agreement with Defendant

Stephens and other defendants as well as pleading a breach of contract claim. A plaintiff is

permitted to plead breach of contract claims in addition to unjust enrichment. Bureau Service

Co., v. King, 308 Ill.App.3d 835, 721 N.E.2d 159 (3rd Dist. 1999) (a complaint may properly

plead alternative theories of recovery despite their apparent inconsistency). Thus, although a

plaintiff may plead claims alternatively based on express contract and an unjust enrichment, the

unjust enrichment claim cannot include allegations of an express contract. Guinn v. Hoskins

Chevrolet, 361 Ill. App. 3d 575, 604, 836 N.E.2d 681 (1st Dist. 2005). In the present case

paragraph 230 of plaintiffs’ complaint alleges an agreement of money for marketing, advertising

and web design services. So the plaintiff is essentially including contract allegations, nor does it

indicate they are pleading in the alternative.

          In addition, no recovery under an unjust enrichment theory is permitted unless the

plaintiff demonstrates that the defendant has voluntarily accepted the benefits plaintiff

purportedly conferred. Premier Electrical Construction Co. v. La Salle National Bank 132 Ill.

App. 3d 485, 496 (1st Dist. 1984) A party is not entitled to compensation based on an unjust

enrichment claim if he receives from the other that which it was agreed between them the other

should give in return. La Throp v. Bell Federal Savings & Loan Association, 68 Ill. 2d 391

(1977).

          Wherefore, defendant Ryan Eagle, by and through his attorneys, Cole Sadkin, LLC,

requests this Honorable Court dismiss all counts against defendant Ryan Eagle pursuant to

Federal Rule of Civil Procedure 12(b)(6) and 12(b)(1) for failure to state a cause of action or any

other relief this Court deems appropriate.
 Case: 1:22-cv-00708 Document #: 103 Filed: 10/20/23 Page 10 of 10 PageID #:1579




   COLE SADKIN, LLC



   By: /s/ Dean Barakat
       DEAN BARAKAT
       Attorneys for Defendant Ryan Eagle




   Dated:    October 20, 2023




COLE SADKIN LLC
Mason S. Cole
Dean Barakat
1652 W Belmont, Ste 1
Chicago, IL 60657
P: (312) 380-7132
mcole@colesadkin.com
dbarakat@colesadkin.com
